Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 1 of 17 - Page ID#: 10

                                                                             Service of Process
                                                                             Transmittal
                                                                             11/12/2019
                                                                             CT Log Number 536607717
  TO:      Cris Silva
           HIGHMARK HEALTH
           120 5th Ave Ste 2180
           Pittsburgh, PA 15222-3016

  RE:      Process Served in Kentucky

  FOR:     Highmark Health Inc (Assumed Name) (Domestic State: PA)
           Highmark Health (True Name)




  ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

  TITLE OF ACTION:                     TERESA K. JOHNSON, PLTF. vs. HIGHMARK HEALTH, INC., ET AL., DFTS.
                                       Name discrepancy noted.
  DOCUMENT(S) SERVED:                  LETTER(S), SUMMONS, COMPLAINT, ATTACHMENT(S)
  COURT/AGENCY:                        Pulaski County Circuit Court, KY
                                       Case # 19CI01095
  NATURE OF ACTION:                    Medical Injury - Improper Care and Treatment
  ON WHOM PROCESS WAS SERVED:          C T Corporation System, Frankfort, KY
  DATE AND HOUR OF SERVICE:            By Certified Mail on 11/12/2019 postmarked on 11/07/2019
  JURISDICTION SERVED :                Kentucky
  APPEARANCE OR ANSWER DUE:            Within 20 days following the day this paper is delivered to you
  ATTORNEY(S) / SENDER(S):             HON. WILLIAM R. ERWIN
                                       Erwin Law, PLLC
                                       319 West Main Street
                                       Danville, KY 40422
                                       (859) 209-2929
  ACTION ITEMS:                        SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780121995550

                                       Image SOP

                                       Email Notification, Cris Silva cristina.silva@highmarkhealth.org

                                       Email Notification, Carol Schoemer carol.schoemer@highmarkhealth.org

                                       Email Notification, C. Rene Halligan renee.halligan@highmarkhealth.org

  SIGNED:                              C T Corporation System
  ADDRESS:                             1209 N Orange St
                                       Wilmington, DE 19801-1120
  For Questions:                       866-401-8252
                                       EastTeam2@wolterskluwer.com




                                                                             Page 1 of 1 / MK
                                                                             Information displayed on this transmittal is for CT
                                                                             Corporation's record keeping purposes only and is provided to
                                                                             the recipient for quick reference. This information does not
                                                                             constitute a legal opinion as to the nature of action, the
                                                                             amount of damages, the answer date, or any information
                                                                             contained in the documents themselves. Recipient is
                                                                             responsible for interpreting said documents and for taking
                                                                             appropriate action. Signatures on certified mail receipts
                                                                             confirm receipt of package only, not contents.


                                                                                                             EXHIBIT A
                                   Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 2 of 17 - Page ID#: 11
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ALISON LUNDERGAN GRIMES
   SECRETARY OF STATE
             P.O. Box 718                                   7Dn DlbD □□□□ b747 “Ifllb                                                                                ZP 40601
                                                                                                                                ».    ' * ^ ’* *. ■» . t'X # 4
  Frankfort, Kentucky 40602-0718                                                                                                                                  n.d 1 •t-wa-’? 1 ■s
   0 REGISTER TO VOTE
                                                                                                                         X




                                                     k:3HMARK health, if:--.
                                                     CT CORPORATION SYSTEMS, INC.
                                                     306 WEST MAIN STREET
                                                     SUITE 512
                                                     FRANKFORT, KY 40601




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                                                                                                       •»                             EXHIBIT A
                                                  0m%
  Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 3 of 17 - Page ID#: 12
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                                                  S         x
                                                                                  Summons Division
                                                                                       PO BOX 718
Alison Lundergan Grimes                 Commonwealth of Kentucky          FRANKFORT, KY 40602-0718
Secretary of State                     Office of the Secretary of State

                                              November6, 2019

HIGHMARK HEALTH, INC.
CT CORPORATION SYSTEMS, INC.
306 WEST MAIN STREET
SUITE 512
FRANKFORT, KY 40601


FROM:         SUMMONS DIVISION
              SECRETARY OF STATE

RE:            CASE NO: 19-CI-01095

COURT: Circuit Court Clerk
     Pulaski County
     PO. Box 664
   . Somerset, KY 42502 .
     Phone:(606)677-4029

Legal action has been filed against you in the captioned case. As provided under
Kentucky law, the legal documents are enclosed.

Questions regarding this action should be addressed to:

      (1) Your attorney, or
      (2) The attorney filing this suit whose name should appear on
          the last page of the complaint, or
      (3) The court or administrative agency in which the suit is filed
          at the clerk's number printed above.

The Kentucky Secretary of State has NO POWER to make a legal disposition of this
case. Your responsive pleadings should be filed with the clerk of the court or agency
where the suit is filed and served directly on your opposing party.

No copy of future pleadings need be sent to this office unless you wish us to serve
the pleading under a particular statute or rule and pay for said service.




Kentucky Secretary of State's Office            Summons Division                         11/6/2019




                                                                                   EXHIBIT A
            Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 4 of 17 - Page ID#: 13
 AOC-E-105          Sum Code: Cl
 Rev. §-14                                                                                       Case#: 19-CI-01095

 Commonwealth of Kentucky                                                                        Court:   CIRCUIT
 Court of Justice . Courfs.ky.gov .
                                                                                                 County: PULASKI
 CR 4.02; Cr Official Form 1                            CIVIL SUMMONS

Plantiff, JOHNSON, TERESA K. VS. HIGHMARK HEALTH, INC., ET AL, Defendant

                                                                                                                                        if>

    TO: CT CORPORATION SYSTEMS, INC.                                                                                                    5
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                                                                                                                                        o
        306 WEST MAIN STREET
                                                                                                                                        g
        SUITE 512                                                                                                                       o
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        FRANKFORT, KY 40601                                                                                                              O)


Memo: Related party is HIGHMARK HEALTH, INC.
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The Commonwealth of Kentucky to Defendant:
HIGHMARK HEALTH, INC.

   You are hereby notified that a legal action has been filed against you in this Court demanding relief as shown on
the document delivered to you with this Summons. Unless a written defense is made by you or by an attorney
pn your behalf within twenty (20) days following the day this paper is delivered to you, judgment by default may be
taken against you for the relief demanded in the attached complaint.

The name(S) and address(es) of the party or parties demanding relief against you or his/her (their) attorney(s) are shown on the        S
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document delivered to you with this Summons.                                                                                            ~
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                                                               Isl J.S. Flynn, Pulaski Circuit                                          a
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                                                        Proof of Service
   This Summons was:

□ Served by delivering a true copy and the Complaint (or other initiating document)

      To:

□ Not Served because:                                                                                                                   If)
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    Date:                           , 20                                                                                                *o
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                                                                                                                                        JC.
Summons ID: 200786414295265@00000172271
CIRCUIT: 19-CI-01095 Long Arm Statute - Secretary of State                                                                               £


                                                                                                          eFiled
JOHNSON, TERESA K. VS. HIGHMARK HEALTH, INC., ET AL

                                                             Page 1 of 1

                                                                                                                  EXHIBIT A
     Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 5 of 17 - Page ID#: 14
Filed                19-CI-01095     10/30/2019                 J.S. Flynn, Pulaski Circuit Clerk
A .rue copy attest   19-CI-01095     10/30/2019                 /s/J.S. Flynn, Pulaski Circuit Clerk



                                    COMMONWEALTH OF KENTUCKY
                                        PULASKI CIRCUIT COURT
                                     C.A. NO. 19-CI-___________ ,
                                       (ELECTRONICALLY FILED)

      TERESA K. JOHNSON                                                                               PLAINTIFF
                                                                                                                        m
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      VS                                          COMPLAINT                                                             O
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      HIGHMARK HEALTH, INC.                                                                                             o

    . 120 Fifth Avenue, Suite 418                                                                             *         o

      Pittsburg, PA 15222-3099                                                                                          O)
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                     Serve:   CT Corporation Systems, Inc.
                              Registered Agent
                              306 West Main Street, Suite 512
                              Frankfort, KY 40601

      AND

      LAKE CUMBERLAND REGIONAL HOSPITAL, LLC                                                      DEFENDANTS            3
      330 Seven Springs Way                                                                                             CO
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      Brentwood, TN 37027                                                                                               CL
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                     Serve:   CT Corporation Systems, Inc.                                                              9
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                              Registered Agent                                                                          «
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                              306 West Main Street, Suite 512                                                     i ✓   Z
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                              Frankfort, KY 40601                                                                   "   X



     AND                                                                        DATE,     ATO®luIii_ i
                                                                                         j.o. FL&NN, CLERK, .      Z
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                                                                                PULASKI CO. CIREulT/DISTRICTCOURTS f
     DR. JOHN C. MOBLEY                                                                                    ^—DC- s
                                                                                                                        Ol


                     Serve:    154 Bogle Office Park Drive
                               Suite A
                               Somerset, KY 42503


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                                                                                                                        in
             Comes the Plaintiff, Teresa K. Johnson, by counsel, and for her Complaint herein, against                  so
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      the Defendants listed herein, states as follows:                                                                  g
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                                                  Page 1 of 7                                                            o>
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Filed                 19-CI-01095    10/30/2019                     J.S. Flynn, Pulaski Circuit Clerk
A true copy attest    19-CI-01095    10/30/2019                     /s/J.S. Flynn, Pulaski Circuit Clerk

                                                                                                      EXHIBIT A
     Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 6 of 17 - Page ID#: 15
Filed                 19-CI-01095       10/30/2019           J.S. Flynn, Pulaski Circuit Clerk
A true copy attest    19-CI-01095       10/30/2019           /s/J.S. Flynn, Pulaski Circuit Clerk



                                           GENERAL ALLEGATIONS

              1. Plaintiff, Teresa K. Johnson, is, and was at all times referenced in the Complaint, a

      resident of 340 Twin River Circle, Bronston, Pulaski County, Kentucky 42518.

              2. The Defendant, Highmark Health, Inc., is a foreign corporation active and in good             in
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      standing with the Kentucky Secretary of State, with the Registered Agent identified as the CT            IN


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      Corporation Systems, Inc., 306 West Main Street, Suite 512, Frankfort, Kentucky 40601, and a             o
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      principal address of 120 Fifth Avenue, Suite 418, Pittsburg, PA 15222. Highmark Health, Inc.,            n


      provides medical insurance coverage for residents of Pulaski County, Kentucky, including the

      Plaintiff herein.

              3. The Defendant, Lake Cumberland Regional Hospital, LLC, is a foreign Limited Liability

      Company, active and in good standing with the Kentucky Secretary of State, with a principal office       g.
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      of 330 Seven Springs Way, Brentwood, TN 37027, and a Registered Agent of CT Corporation                  &
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      Systems, Inc., 306 West Main Street, Suite 512, Frankfort, Kentucky 40601. Lake Cumberland               9
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   . Regional Hospital, LLC, operates a medical care facility in Pulaski County, Kentucky.                     z
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              5. The Defendant, John C. Mobley,'has a principal office of 154 Bogle Office Park Drive,          O)
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      Suite A, Somerset, KY 42503. Dr. Mobley has an active medical practice in Pulaski County,                £
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      Kentucky.

              6. Beginning in 2017, Plaintiff, Teresa K. Johnson, was a patient of Dr. John Mobley. Dr.

      Mobley recommended a medical procedure to be performed on Teresa K. Johnson.' Dr. Mobley’s

      office contacted Highmark Health, Inc., for pre-certification of an outpatient surgical service to be
                                                                                                               If)
      performed on June 19,2017.                                                                               5
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              7. On June 9, 2017, Highmark Health, Inc., provided a letter to the Plaintiff, Teresa K.         g
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                                                     Page 2 of 7                                                O
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Filed                     19-CI-01095   10/30/2019            J.S. Flynn, Pulaski Circuit Clerk
A true copy attest        19-CI-01095   10/30/2019            /s/J.S. Flynn, Pulaski Circuit Clerk

                                                                                               EXHIBIT A
     Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 7 of 17 - Page ID#: 16
Filed                 19-CI-01095    10/30/2019             J.S. Flynn, Pulaski Circuit Clerk
A.true copy attest    19-CI-01095    10/30/2019             /s/J.S. Flynn, Pulaski Circuit Clerk



      Johnson, a copy of which is attached hereto as “EXHIBIT A”, of pre-certification of an out-patient

      surgical service approved for the place and date of the service shown above.
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              8. In June, 2017, the Plaintiff, Teresa IC. Johnson, decided not to have the procedure at that

      time. She continued to treat with Dr. Mobley.                                                                JO
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              9. In November, 2018, Dr. Mobley again recommended the same medical procedure to be                  *o
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      performed on the Plaintiff. Dr. Mobley’s office contacted Highmark Health, Inc., for pre-
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      certification and approval of the surgery to be paid by Hallmark and covered by Plaintiffs medical           o
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      insurance.

              10. On December 12,2018, Highmark Health, Inc., sent a letter to Plaintiff authorizing the

      service to be performed by John Mobley at Lake Cumberland Regional Hospital. A copy of this

    . letter is attached as “EXHIBIT B.”                                                                           §
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              11. On December 27, 2018, agents of Lake Cumberland Regional Hospital tendered to .                  0.
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      Plaintiff a financial agreement for payment for the procedure identified above. The estimated patient        9
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      liability was designated in the amount of $4,037.16. This financial agreement is attached as                 Z
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      “EXHIBIT C” hereto.                                                                                           u> ■
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              12. On December 28,2018, Plaintiff underwent the medical procedure set forth above at                .S
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      Lake Cumberland Regional Hospital performed by Dr. John C. Mobley.

              13. Subsequent to the medical procedure being performed, Plaintiff began receiving bills for

      payment from Lake Cumberland Regional Hospital, Dr. Mobley, Cumberland Anesthesia, and Lake

      Cumberland Surgical Assist. The total amount alleged to be due and owing is in the sum of
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      $43,372.01.                                                                                                  5
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              14.    Plaintiff contacted Dr. Mobley and Lake Cumberland Regional Hospital, LLC, to                 10
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Filed                  19-CI-01095   10/30/2019              J.S. Flynn, Pulaski Circuit Clerk .
A true copy attest     19-CI-01095   10/30/2019              /s/J.S, Flynn, Pulaski Circuit Clerk

                                                                                              EXHIBIT A
     Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 8 of 17 - Page ID#: 17
Filed                 19-CI-01095     10/30/2019              J.S. Flynn, Pulaski Circuit Clerk
A,true copy attest    19-CI-01095     10/30/2019              /s/J.S. Flynn, Pulaski Circuit Clerk



       question the billing and to determine why Highmark Health, Inc., failed to pay for the medical

       procedure. The Defendants herein have denied coverage for the procedure.

                                                      COUNT I

               15. Plaintiff reaffirms and realleges each of the allegations set forth above.                      s
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               16. Each of the Defendants identified herein made statements to Plaintiff, both verbally and        o
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       in writing, concerning the coverage of the procedure recommended by Dr. Mobley and performed            '       <D
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       by Dr. Mobley at Lake Cumberland Regional Hospital, LLC. The statements were made to Plaintiff                  n



       with the intent that the Plaintiff rely thereon.

               17. Plaintiff relied on the statements both verbal and written, of the Defendants herein, and

       in reliance thereon, made a material change in her position in the form of undergoing a medical

       procedure in incurring extensive medical bills that were promised to be paid by medical insurance.              S
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               18. As direct and proximate result ofthe Plaintiffs good-faith reliance ofthe representations           &
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       of the Defendants herein, Plaintiff has been damaged in an amount in excess of the jurisdictional               9
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       limits of this Court in the form of medical bills which currently stand in the amount of $43,372.01.            Z
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               19. The actions of the Defendants herein were willful and intentional, in conscious disregard       ■
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       of the rights and expectations of the Plaintiff, all to Plaintiffs punitive sum to be set at trial.              1£
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                                                     COUNT II

               20. Plaintiff reaffirms and realleges each of the allegations, set forth above.

               21. The Plaintiff herein purchased a health insurance policy through Highmark Health, Inc.

       This policy was purchased for Plaintiffs personal use. Highmark Health, Inc., is in the business of
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       providing health insurance for residents of Pulaski County, Kentucky, including the Plaintiff.                   5
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               22. The actions of the Defendant, Highmark Health, Inc., in submitting two (2) letters to                <0
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                                                     Page 4 of 7                                                            O)
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 Filed                  19-CI-01095     10/30/2019              J.S. Flynn, Pulaski Circuit Clerk
 A true copy attest     19-CI-01095     10/30/2019              /s/J.S. Flynn, Pulaski Circuit Clerk

                                                                                                  EXHIBIT A
     Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 9 of 17 - Page ID#: 18
Filed                 19-CI-01095          10/30/2019            J.S. Flynn, Pulaski Circuit Clerk
A true copy attest    19-CI-01095          10/30/2019            /s/J.S.. Flynn, Pulaski Circuit Clerk



       Plaintiff pre-approving the procedure ultimately performed by Dr. Mobley at Lake Cumberland

       Regional Hospital, constitutes an unfair, false, misleading and deceptive practice act in their trade
      or practice, contrary to the Kentucky Consumer Protection Act.
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              23. Asa direct and proximate result of the Defendant’s breach of the Kentucky Consumer                'S
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      Protection Act, Plaintiff has been damaged in an amount in excess of the jurisdictional limits of this
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     = Court in the form of medical bills which currently, stand in the amount of $43,372.01. Plaintiff has          0)
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      also been forced to incur attorney’s fees to prosecute the payment of the medical procedure.                    m


      Pursuant to the Kentucky Consumer Protection Act, Defendant, HighMark Health, Inc., is.

      responsible for Plaintiffs attorney’s fees.                                                        .

              24. The actions of the Defendant, Highmark Health, Inc., were willful and intentional in

      conscious disregards of the rights and expectations of the Plaintiff, all to Plaintiffs punitive sum to         3CO
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      be fixed at trial.                                                                                              a.
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                                                         COUNT III                                                    9
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              25. Plaintiff reaffirms and realleges each of the allegations as set forth above.                       z
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              26. Plaintiff entered into a written agreement with Lake Cumberland Regional Hospital, a                ■o
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      copy of which is attached as “EXHIBIT C”.                                                                       =5
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              27. Pursuant to the terms of the Final Agreement reached with the Defendant, Lake

      Cumberland Regional Hospital, Plaintiff agreed to pay the sum of $4,037.16.

              28. Plaintiffrelied on the Contract entered into on December 27,2018, to undergo surgery

      at Lake Cumberland Regional Hospital performed by Dr. Mobley. Thereafter, Lake Cumberland. ,
                                                                                                                       in
      Regional Hospital has sent a bill to Plaintiff in the sum of $38,232.51.                                         o
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              29. The Defendant, Lake Cumberland Regional Hospital, LLC, has breached its agreement
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                                                         Page 5 of 7                                                      o>
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 Filed                     19-C9-01095      10/30/2019            J.S. Flynn, Pulaski Circuit Clerk
 A true copy attest        19-CI-01095 •    10/30/2019            /s/J.S. Flynn, Pulaski Circuit Clerk

                                                                                                    EXHIBIT A
       Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 10 of 17 - Page ID#: 19
Filed                   19-CI-01095        10/30/2019            J.S. Flynn, Pulaski Circuit Clerk
A true copy attest      19-CI-01095        10/30/2019            /s/J.S. Flynn, Pulaski Circuit Clerk



         in contract with the Plaintiff.

                 30. As a direct and proximate result of the Defendants ’ breach of contract, Plaintiff has been

   ■     damaged in an amount in excess of the jurisdictional limits of this court in the form of medical bills

         in the approximate sum of $38,232.51.                                                                          lA
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                                                         COUNT IV                                                       .g
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                 31. Plaintiff reaffirms and realleges each of the allegations set forth above.
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                32. The actions of the Defendants, in representing that there would be insurance coverage

         for the procedure recommended by Dr. Mobley and performed at Lake Cumberland Regional

         Hospital, were representations that were known or should have been known by the Defendants to be

         false, with the intent that the Plaintiff rely thereon. Plaintiff did rely on the representation of each

         of the Defendants and material changed her position and reliance thereon..
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                                                                                                                         52.
                33. As a direct and proximate result of the fraudulent actions of each of the Defendants                 CL
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        herein, Plaintiff has been damaged in an amount in excess of the jurisdictional limits of this Court             9
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         in the form of medical bills in an approximate sum of $43,372.01.                                               z • .
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                34. The actions of the Defendants herein were wilful and intentional, in conscious disregard              U>


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        of the rights and expectations of the Plaintiff, to Plaintiffs punitive sum to be fixed at trial.                £
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                                                         COUNT V

                35. The Plaintiff reaffirms and realleges each of the allegations set forth above.

                36. The actions of the Defendant, Highmark Health, Inc., are in violation of the Kentucky

         Unfair Claims Settlement Practices Act.
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                37. As a direct and proximate result of the Defendant’s breach of the Unfair Claims                       5
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         Settlement Practices Act, Plaintiff has been damaged in an amount in excess of the jurisdictional                 g
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                                                         Page 6 of 7                                                         0)
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 Filed                   19-CI-01095        10/30/2019            J.S. Flynn, Pulaski Circuit Clerk
 A true copy attest      19-CI-01095        10/30/2019            /s/J.S. Flynn, Pulaski Circuit Clerk

                                                                                                   EXHIBIT A
    Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 11 of 17 - Page ID#: 20
Filed                 19-CI-01095     10/30/2019              J.S. Flynn, Pulaski Circuit Clerk
A (rue copy attest    19-CI-01095     10/30/2019              /s/J.S. Flynn,' Pulaski Circuit Clerk



       limits of this Court.

               38. The actions of the Defendant, Highmark Health, Inc., were undertaken wilfully and

       intentionally, in conscious, disregards of the rights and expectations of the Plaintiff, all to Plaintiffs,
                                                                                                                      in
       punitive sum to be fixed at trial.                                                                             5
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               WHEREFORE, Plaintiff, Teresa K. Johnson, prays for relief as follows:                                  g
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               1. .For Judgment against the Defendants, jointly and severally, in an amount in excess of the          o
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      jurisdictional limits of this Court for all medical bills resulting from the procedure of December 28,          «

       2018;

             . 2. For Punitive damages to be awarded by the Court in an amount in excess of the

      jurisdictional limits of this Court;

               3. For her attorneys fees to be awarded pursuant to the Kentucky Consumer Protection Act;
                                                                                                                      s
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       and                                                                                                            CL
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               4. For any and all other relief of which the Plaintiff may be entitled, including Trial by Jury.       9 .
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                                                               /s/Hon. William R. Erwin                                X .
                                                                                                                        ci
                                                               HON. WILLIAM R. ERWIN                                    0)
                                                                                                                       *o
                                                               Erwin Law, PLLC                                         o>
                                                               319 West Main Street                                    £
                                                                                                                       2CO
                                                               Danville, KY 40422                                       £
                                                                                                                       Q.
                                                               (859) 209-2929
                                                               bill@erwinlawkv.com




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                                                     Page 1 of 1                                                           O)
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 Filed                  19-C1-01095     10/30/2019             ; J.S. Flynn, Pulaski Circuit Clerk
 A true copy attest     19-CI-01095     10/30/2019               /s/J.S. Flynn, Pulaski Circuit Clerk

                                                                                                 EXHIBIT A
             Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 12 of 17 - Page ID#: 21
                                                                     10/               9             J.S. Flynn, Pulaski Circuit Clerk       V7i ivruvru
      File
      -StK5H)OTKr
               An Independent Licensee of the Blue Cross and Blue Shield Association
                                                                                                •<
                                                                                                     /s/J.S. Flynn, Pulaski Circuit Clerk


               Fifth Avenue Place • 120 Fifth Avenue • Suite Mt 01 • Pittsburgh PA 15222*3099




                                                                                                                                   June 9,2017
                  MS. TERESA K JOHNSON
      §           340 TWIN RIVERS CIRCLE
      5                                                                                                                                                        in
                                                                                                                                                               z
      o           BRONSTON, KV 42518
                                                                                                                                                               o
                                                                                                                                                               o
                                                                                                                                                               'o
                                                                                                                                                               O
                                                                                                                                                               5
                 Patient: MS. TERESA K JOHNSON                                                                                                                 8-
                                                                                                                                                               °
                 Member/Subscriber ID: 1076299120010
                 Requesting Provider: JOHN MOBLEY                                                                                                              I:
                                                                                                                                                               a.
                 Facility: LAKE CUMBERLAND REGIONAL HOSPITAL
                 Service From: 06/19/2017
                 Service Through: 06/19/2017
                 Total: Visit(s) Approved: 1
                 Authorization #: REQ-577489 (CASE-235588)


                 Dem MS. TERESA K JOHNSON:                                                                                                                     5CO
                 The Tequest submitted for a pro-certification of a(n) Outpatient Surgical service has been approved for the                                   Q.
                                                                                                                                                               a
                 place and date of service shown above. This decision is based on the information provided at the time of                                      <
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                 the review.                                                                                                                                   9
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                 This authorization is solely for the purpose of advising you of the medical necessity of the requested                                        z
                 service. It is NOT a verification of available benefits or authorization for new benefits. No guarantee of.                                   o
                                                                                                                                                               X
                 payment is being made and the appropriate customer service area should be contacted to verify if the                                          O)
                 requested service(s) are eligible to be covered under your benefit plan and to determine if there are any                                     TJ
                                                                                                                                                               ■3
                 benefit and/or policy exclusions and/or limitations that may apply. Please see the NOTICE OF                                                   o>
                                                                                                                                                                .£
                 COVERAGE APPROVAL for more detailed information on the reverse.                                                                           ‘    2
                                                                                                                                                                in
                                                                                                                                                                £
                 Notification has also been given to the doctor and/or facility shown aboye.                                                                    Q.




                 If you have any questions about this notice, please call the Member Service Department at the
                 telephone number printed on your health care coverage identification card.

                 Sincerely,

                 Medical Management & Policy
                                                                                                                                                                in

                 A department of Highmark which performs utilization review services for members of Highmark                                                    5
3*3
                 Blue Shield programs.
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                 Notification of approvals are for your information, no action is required on your part.                                                        ©

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          Filed
          A true copy attest
                                           19-CI-01095
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                                                                        10/30/2019
                                                                        10/30/2019
                                                                                                      J.S. Flynn, Pulaski Circuit Cle
                                                                                                      /s/J.S. Flynn, Pulaski Circuit § A
                                                                            . >.
                                                                                                                                            EXHIBIT A
    Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 13 of 17 - Page ID#: 22
Filed                  19-CI-01095      10/30/2019          J.S. Flynn, Pulaski Circuit Clerk
A'true copy attest    19-CI-01095       10/30/2019          /s/J.S. Flynn, Pulaski Circuit Clerk




                                                                                                                         IA
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           IMPORTANT INFORMATION ABOUT THIS NOTICE OF COVERAGE APPROVAL                                                  ©
                                                                                                                         o
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        This Notice of Coverage Approval is governed by, and does not change or limit, the terms of the              •   5
                                                                                                                         ©
                                                                                                                           •
        member's health benefits plan, or any other legal document that applies to coverage and payment                  9
                                                                                                                         G)
        for benefits approved in this Notice. For more information concerning the member's benefits and                  O)

        coverage, please refer to the member's Subscriber Agreement or benefit booklet.                                  s .
                                                                                                                         Q.


        This Notice of Coverage Approval is not a guarantee of payment. This approval is based on the
        information available to us at the time it is issued (including information regarding the member's
        eligibility for coverage and/or the availability of benefits). If the information later proves to have
        been incorrect, incomplete or otherwise different than what was represented or if it changes, we
        may still ultimately deny payment of the claim.

        For example, coverage and payment of a claim are contingent upon, among other things, the
        patient being actively enrolled in the health benefits plan at the time approved services are                    3CO
                                                                                                                         <N
        rendered. In addition, certain coverage and payment limitations could result in a claim being                    2.
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        denied depending upon the member's prior utilization of plan benefits (e.g. dollar maximums,                     a
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        visit limits, etc.). In those situations, our decision to issue a Notice of Coverage Approval is                 h-
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        based on benefit utilization and claim payment information available to us at the time the request               >
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        for coverage approval is received. However, as this information is subsequently updated, the                     a
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        availability of benefits may change and a claim based on a service for which a Notice of                         o
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        Coverage Approval was previously issued may be ultimately denied.                                                 a
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        For questions about eligibility and other terms of the health benefits plan, refer to the member
                                                                                                                 •     1  o>

        materials or contact a Member Services Representative at the number printed on the member's
        identification (ID) card.
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        For questions about this approval, consult with the treating physician.




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 Filed                 19-CI-01095       10/30/2019           J.S. Flynn, Pulaski Circuit Clerk .
 A true copy attest     19-CI-01095 .    10/30/2019           /s/J.S. Flynn, Pulaski Circuit Clerk   .

                                                                                               EXHIBIT A
         Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 14 of 17 - Page ID#: 23

      The Claims Admmistrator/lnsurer complies with applicable Federal civil rights laws and does not
      discriminate on the basis of race, color, national origin, age, disability, or sex, including sex stereotypes and
      gender identity. The Claims Administrator/Insurer does not exclude people or treat them differently because
      of race, color, national origin, age, disability, or sex assigned at birth, gender identity or recorded gender.
      Furthermore, the Claims Administrator/Insurer will not deny or limit coverage to any health service based
      on the fact that an individual's sex assigned at birth, gender identity, or recorded gender is different from
      the one to which such health service is ordinarily available.The Claims Administrator/insurer will not deny or        £
      limit coverage for a specific health service related to gender transition if such denial or limitation results in     I
      discriminating against a transgender individual.The Claims Administrator/Insurer:
                                                                                                                            o
      * Provides free aids and services to people with disabilities to communicate effectively with us, such as:            o

                                                                                                                            Ol
       - Qualified sign language interpreters                                                                                a


       - Written information in other formats (large print, audio, accessible electronic formats, other formats)
      • Provides free language services to people whose primary language is not English, such as:
       - Qualified interpreters
       - Information written In other languages
      If you need these services, contact the Civil Righis Coordinator.
      If you believe that the Claims Administrator/Insurer has failed to provide these services or discriminated in         *ooCM
                                                                                                                             52, •
      another way on the basis of race, color, national origin, age, disability, or sex, including sex stereotypes and       a.
                                                                                                                             Q.
                                                                                                                             <
      gender identity, you can file a grievance with: Civil Rights Coordinator, P.O. Box 22492, Pittsburgh, PA 15222,
      Phone: 1 -866-286-8295, TTY: 711, Fax: 412-544-2475, email: CivilRightsCoordinator@highmarkhealth.org.                 >
                                                                                                                             <
                                                                                                                             a
      You can file a grievance in person or by mail, fax, or email, if you need help filing a grievance, the Civil Rights    g
                                                                                                                              x
      Coordinator is available to help you. You can also file a civil rights complaint with the U.S. Department of             0

      Health and Human Services, Office for Civil Rights electronically through the Office for Civil Rights Complaint       |
                                                                                                                                o>
      Portal, available at https://ocrportal.hhs.gov/ocr/portai/ibbby.jsf, or by mail or phone at:                            £
                                                                                                                              2
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      U.S. Department of Health and Human Services                                                                            a.
      200 Independence Avenue, SW
      Room 509F, HHH Building
      Washington, D.C. 20201
      1-800-368-1019,800-537-7697 (TDD)
      Complaintforms are available at http://www.hhs.gov/ocr/offlce/file/index.html.
      Insurance or benefit/claims administration may be provided by Highmark, Highmark Choice Company, Highmark               „
sag   Coverage Advantage, Highmark Health insurance Company, First Priority Ufe insurance Company, First Priority             °©
      Health, Highmark Benefits Group, Highmark Select Resources, Highmark Senior Solutions Company or Highmark               £
                                                                                                                                 CM
       Senior Health Company, ail of which are independent licensees of the Blue Cross and Blue Shield Association, an           S
                                                                                                                                 O
       association of independent Blue Cross and Blue Shield plans.                                                              o
                                                                                                                                    0
      ATTENTION: If you speak English, language assistance services, free of charge, are available to you. Call the                 O)
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       number on the back of your ID card (TTY: 711).                                                                            a.
                                                                            U65_BS_G_M_1 Col_12pt_blk_NL
       Filed                19-CI-01095    10/30/2019             J.S. Flynn, Pulaski Circuit Clerk
                            19-CI-01095    10/30/2019             /s/J.S. Flynn, Pulaski Circuit Clerk
       A true copy attest

                                                                                                  EXHIBIT A
          Case: 6:19-cv-00288-KKC Doc #: 1-2 Filed: 12/09/19 Page: 15 of 17 - Page ID#: 24
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                 nlGHMARK                                   ®        r®
            Fifth Avenue Place • 120 Fifth Avenue • Suite P4104 • Pittsburgh PA 15222-3099




           December 12,2018

           TERESA K JOHNSON                                                                                                                                         in
                                                                                                                                                                    e
  .        340 TWIN RIVERS CIRCLE                                                                                                                                   so
           BRONSTON, KY 42518                                                                                                                                       *0
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                                                                                                                                                                    o
           Patient: TERESA K JOHNSON
           Member/Subscriber ID: 1076299120010                                                                                                                      O)
           Requesting Provider: JOHN MOBLEY                                                                                                                         2
                                                                                                                                                                ■   8
           Facility: LAKE CUMBERLAND REGIONAL HOSPITAL                                                                                                              a
           Authorization#: REQ-5119153 (CASE-3783541)

           Dear TERESA K JOHNSON:
           The requests submitted for pre-certification as described below have been approved.

           Authorizations
           Reference #:                                                REQ-5119153 (CASE-3783541)                                                                   o'
           Place of Service/Service:                                   Outpatient - Surgical                                                                        aoo
                                                                                                                                                                    CM
           Service Requested From:                                     12/01/2018                                                                                   JS.
           Service Requested To:                                       02/28/2019                                                                                   Q.
                                                                                                                                                                    Q.
      ,    Total Approved:                                             1 Units                                                                                      <
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           This decision is based on the information provided at the time of the review.                                                                            >
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           This authorization is solely for the purpose of advising you of the medical necessity of the                                                             z
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                                                                                                                                                                    X
           requested service. It is NOT a verification of available benefits or authorization for new benefits.
           No guarantee of payment is being made and the appropriate customer service area should be                                                                0>
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           contacted to verify if the requested serviced) are efiaible to be covered under your benefit plan                                                        3
                                                                                                                                                                    o>
           and to determine if there are any benefit and/or policy exclusions and/or limitations that may                                                           £
           apply. Please see the NOTICE OF COVERAGE APPROVAL for more detailed information on the                                                                   2vt
           reverse.                                                                                                                                                  £
                                                                                                                                                                    a.

           Notification has also been given to the doctor and/or facility shown above.
           To maximize your benefits, you should utilize a provider who participates in your health plan's
           preferred provider organization ("PPO"). You may call 1 -888-778-8107 or access our web site at
           www.highmarkbcbs.com to determine if your provider is a PPO participant.



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                         Highmark Blue Shield is an independent licensee of the Blue Cross and Blue Shield Association.                                             O


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Filed                              19-CI-01095             10/30/2019                        J.S. Flynn, Pulaski Circuit Clj
A true copy attest                 19-CI-01095             10/30/2019                        /s/J.S. Flynn, Pulaski Circuit!

                                                                                                                                     EXHIBIT A
FifedCase: 6:19-cv-00288-KKC        Doc #: 1-2 Filed: J.S.
                       19-CI-01095 10/30/2019         12/09/19     Page: 16 of 17 - Page ID#: 25
                                                           Flynn, Pulaski Circuit Clerk
   irufc co^V «**ILfe^«T™TSgggJW ^/ao/nono.           Ivt} gj n»mn P..lacWi Circuit Clerk

                                                                                              Lake Cumberland Regional
LAKE CUMBERLAND                                                                                           305 Langdon St
                                                                                                     Somerset, KY 42501
     Regional Hospital                                                                              Phone: 606-679-7441
                                                                                                Doctor: JOHN C MOBLEY

                                        ESTIMATE WORKSHEET
Patient Name:           TERESA K JOHNSON PH:(606) 307-8975
Service Date:           12/28/2018
Account #:              1002242788                       Based on the following codes:                                          ID
                                                                                                                                S
                                                                                                                                O
Policy Number:          LGL107629912001                                Facility Codes (CPT®):                                   O
Group Number:           01303600                                       43770: LAP PLACE GASTR ADJ DEVICE
                                                                                                                                *0

Insurance Company:      BLUE CROSS KY ACCESS/PREFERRE                                                                           ©
                                                                                                                                o
Deductible:                                     $1,750.00                                                                       o
Deductible Met:                                 $1,750.00              ICD / CPT® Codes:                                        O)
                                                                                                                                (0
                                                                                                                                Ad
Out of Pocket Max:                              $4,250.00              - none -                                                 «
Out of Pocket Met:                               $153.00
Co-Pay:                                             $0.00
Co-Insurance:                                        20%

                                  Estimated Charges
                                  $39,104.63
          Cd-Pay:        $0.00                                     Deductible Due:                               $0.00
    Deductible:          $0.00 Est Insurance  Amount   Due         Co-Insurance      Due:                    $4,037.16
                               $16,148.65                          Estimated Patient Due:                    $4,037.16
   Co-lnsuranc       $4,037.16                                     Prompt Discount (20%):                      $807.43          o
                               Estimated Patient Due                                                                            ?5
           Total:    $4,037.16 $4,037.16                           Total  Due Today:                         $3,229.73          oo
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  Date:                          Time:                                           ICN:524110                                     >
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                                           PATIENT FINANCIAL RESPONSIBILITY                                                     TJ
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The information provided in this worksheet is a best estimate based on the information we currently have and is not a           £
                                                                                                                                2
guarantee of what you will be charged. Please understand that in many cases it is impossible to predict the final               (A
                                                                                                                                2
charges that will result, as there are variables involved in your actual services such as: the length of time spent in          CL

surgery or recovery, specific equipment, supplies and medications required, additional tests required by your
physician, and/or any unusual special care or unexpected conditions or complications. This estimate does not include
any physician charges (e.g. office visit, surgeon, anesthesiologist, emergency room physician, radiologist,
pathologist, consulting physicians, etc.). If you have insurance, your benefits will ultimately determine the amount you
owe (including deductibles, co-pay, co-insurance, and out-of-pocket maximums).

If you have paid the estimated balance due amount in full, you are eligible for the prompt pay discount on this account
should your responsibility be more than our estimate. Payment on the date of service is preferred, however, we will             in
                                                                                                                                S
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honor the discount for payments received and posted within 7 actual days of the date service.
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     Patient/Guarantor Signature: V)Q
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                                         10/30/2019
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                                                              J.S. Flynn, Pulaski Circuit l$rk
                                                              /s/J.S. Flynn, Pulaski Circifl Clerk
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                                                                                                   EXHIBIT A
    FiledCase:       6:19-cv-00288-KKC
                             19-CI-01095
                                          Doc #: 1-2 Filed: 12/09/19
                                         10/30/2019
                                                                         Page: 17 of 17 - Page ID#: 26
                                                            J.S. Flynn, Pulaski Circuit Clerk
i   X true copy attest        Jk         W8S5rrm,10/3-S/2019
                                                                                          patwnrN&rtjfi111*' ^uiiiaKI       enrmt ofe^-jac;son
    LAKE CUMBERLAND                                                                     Account Nuinbar:
                                                                                          Service Data:
                                                                                                                                             1002242788
                                                                                                                                             12/28/2018
         Regional Hospital
              Leading the way to better healthcare.                                                                   Admissions
                                                                                                                     Effective 12/01/2015
    Thank you for choosing Lake Cumberland Regional Hospital for your services. We value your use of our facility arid your
    satisfaction is very Important to us. Based on the Information obtained during the registration process, you have an estimated
    balance due for services. Lake Cumberland Regional Hospital is proud to offer multiple payment options to meet your financial
    needs. Your estimated liability amount due and payment options are listed below:
                      ‘Estimated Patient Liability:                              ‘This Is an esllmate only based on current information available. Actual charges may be
                                                                                 higher or lower depending on the actual services received. You will receive a refund (If   m
                           $4.037.16                                             no other balance owed) If any portion Is overpaid or you will receive a bill for any
                                                                                 additional balance due.
                                                                                                                                                                            so
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                                                                                                                                                                            *0
                                               Option 1                                           Option 2                                       Option 3
                                                                                                                                                                            IA
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     PAYMENT OPTIONS                          Payment In Full
                                                                                         LCRH Monthly Pay Plan                          Extended Payment Plan               9
                                                                                                                                                                            O
                                                                                          (12 Month Maximum)                             (60 Month Maximum)                 O)
                                                                                                                                                                            (0
    Interest Rate:                                    0%
                                                                                                                                             %
                                                                                                        0%                                              0%                  S
                                                                                                                                                                            £L
                                                                                                                                          Balance Due            # Months
                                                                                      Balance Due         # Months Min Month        $     25.00' $ 150.0Q/1         3
                                                                                                                                    S 150.01         300.00          6
                                                                                                                                    $ 300.01         450.00          12
                                                                                  S   10.00   $ 250.00          3      S 25.00
    Maximum Months:                               0 Months                                                                          $ 450.01 $\ 560,00               18
                                                                                                                                    S 600.01 $ #500.00               24
                                                                                  S 250.01    S 500.00          6      S 75.00
                                                                                                                                    S 2,600.01 S/6.000.00            36
                                                                                                                                    S 5.000.01                       48
                                                                                  S 500.01    S 99.999         12    ■ S 100.00
                                                                                                                                    $ 10,000.01 S24.9fl.99           60
    Available Discount:                              20%

                                                  ($807.43)
                                                                                                        0%

                                                                                                       $0.00
                                                                                                                                                 7      0%                  <5
                                                                                                                                                                            00
                                                                                                                                                                            CM
                                                                                                                                                                            CD
    Discount Amount:                                                                                                                                  $0.00
                                                                                                                                                                            Q.
                                                                                                                                         7                                  £L
    Minimum Deposit
                                                    $0.00                                         ($2,018.58)                                        ($100.00)              <
    SliUilS&aassEss                                                                                                                     /                                   i-
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    Remaining Balance:                            $3,229.73                                        $2,018.58                                         $3,937.16              <
                                                                                                                                                                            a
                                                                                                                                                                            z
        Estimated                            S3.229.73                                                                                           $109.37                    o
                                                                                                                                                                            X
     Minimum Monthly                 ‘Only available for Payment In Full Prior          ‘Monthly payment la the higher of           ‘Required Deposit Is 10% or $100        b
                                                                                                                                                                            O)
                                     to Service                                         Maximum Months -or- Minimum                 maximum. Balance must be >$100.         ■a
         Payment:                                                                       Payment Amount.                             $10 Annual Fee w/Acllve Balance
                                                                                                                                                                            3

                                                                                                                                                                            O)
                                    Payment amounts listed are the MINIMUM requirements for each option. You must meet the minimum payment amount                           .S
                                    for each payment option, however you can pay more than the minimum monthly payment listed. No early payoff fees
                                                                                                                                                                            s
                                    apply.                                                                                                                                  2
                                                                                                                                                                            a
    [(Select Payment           ||
    lOptlon (Circle):          1                       1
                                                                                         Due Date:
                                                                                                a*\
                                                                                                    tl                          □' Add-on Balance
                                                                                                                                                        3

                                                                                                         12-24 Month Payment Plans Only:
    Financial Agreement: I, the undersigned, agree (whether I sign as parent, guardian, spouse, agent, guarantor, or as patient) that in
    consideration of the services and/or products to be rendered to the patient, I hereby agree to pay Lake Cumberland Regional Hospital, its
    agents or any other entities Lake Cumberland Regional Hospital authorizes to solicit, acquire, manage or collect for the medical services
    and/or products provided to the patient. Should the balance owed be referred to an attorney or collection agency, I will be responsible
    and pay all collection fees and costs, attorney fees, and court costs.                                                                                                  in
                                                                                                                                                                            so
     if l elect to pat the account balance pursuant to a payment plan option as summarized above. I agree to make timely monthly payments                                   o

     based on the estimates and payment plan descriptions provided above. I hereby certify and state that I have read, fully understand, and                                m
     agree to honor my obligations to pay the account balance. I understand that the estimated minimum monthly payments described In the                                    s
                                                                                                                                                                            ©
     examples above are for Illustration purposes only and my actual minimum monthly payment may be higher or lower depending on the                                        o
     actual, services received, final charges assigned, and benefits received from other sources (inapplicable).                                                            o
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